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DlSTRlCT Ol" SOUTH DAKOTA

U.S.A. vs leas DeLeon Docket No. 3`:16CR30101»001
Petltlon to Revoite Supervi_sed Reieuse

COMES NOW SARAH FRY, PRGBATION OFFlCER O_F THE CDURT, presenting an official report
upon the conduct and attitude of Dimas Del.eon, who was sentenced on l 1114/2016 to 22 months custody, followed
by 5 years sbpervised release by the Honorable ltobeno A. tange United States Distriet Judge. sining' m the Court at
Picrre, SD fl`he original offense was Failurc to Register as a Se:t Offendcr, which 1s a Class C l"elony and carries a
statutory maximum of 2 years custody upon revocation of Superv\sed Rclease. The supervised release commenced
on ll/0ll2018

THEREAF!'ER., NON~COM¥UANT BEHAV!OR OCCURRED 'RESULTING !N SUPERVISION
lNTERVENT!ONS AS FOLLOWS: ‘

'l'he U. S. Ptobation Otiice` 111 the Southem District efTe_xas agreed to provide courtesy supervision in this case. Mr.
Deleon's term of superv1sed release commenced 111 MeAllc`n, 'l`X. lie reported the probation office 111 M_cAllen on
ll/0512018 ior a scheduled nppointment. Dun'ng the appointment, he disclosed he ingested marijuana and cocaine
A urine sample was collected and yielded positive results for the substances Mr DeLeon was taken into state
custody from the probation office for an outstanding warrant.

'l`he aforementioned information was reported for the Court‘s review on l ll l9[20 18 within a Report on Person
Under Supervision. The l’robation office reviewed his conditions ofsupervised release with him on l 1/09/20|8
Additionally. Mr. DeLeon was placed at a residential reentry center (RRC) to attend treatment on 12/04/2018.

Mr. Del.con was terminated from the treatment progrem. and the RRC, on l2/l t/2018. According to stati_`reports_he
was insolent_ towards staff mcmbers. and he was verbally housing female residents on two occasions 01`1 lZ/l?)`ZOl_S
Mr. DeLeonj,submitt'ed a urine sample which yielded positive`results for amphetamines The sample was submitted to
a laboratory§:and confirmed to be positive on l?.fZ"I/ZO!S.

The information within the previous paragraph nas submitted for the Court‘s review on 01/|4!2019. Mr. DeLeon was
placed on the horne detention program. Additionally. he was referred to attend and complete intensive outpatient
substance abuse treatment in combination with mental health counseling.

Mr. Del.eon was referred to Tropical 'l'exas Behavioral Health on 02/04/2019. i-le did initially attend his treatment
and mental health session throughout Febnmry Uni'ortunateiy,~ his substance abuse.' issues persisted he submitted a
urine specimen on 03/0!/2019. which yielded positive results i`or cocaine and marijuana An additional urinalysis was
conducted on 03/ iii/2019 and yielded positive results _l`or cocaine and marijuana Mr. D_eLeon was instructed to attend
group counseling weekly; unfortunately he missed group sessions on_ 03/04/20|9, 03/| l/2019 and 03/| 8/_2019 On
03/26/20l9 he arrived for group approximately 45 minutes lale and he was sent away and considered absent.

On 03/28/2019 the Southcm District of Texas United States Probation Ofl_ice notilied the Uniled States Probation
Oflic_e 111 Sonth Daknta of two previous incidents ol'drug use by Mr. Del.eon which were not reported to the Court.
Ti_te first use was an admission on l2!03/20|9. based on 11' urinalysis which tested positive for cocainc. amphetamines
and marijuana 'l'hc second unreponed drug usc was on 12/04l2019 when a urinalysis tested positive for cochinc,
amplt_etaniiniesl and marijuana and was continued positive by a laboratory on l_2'_/l4/20l9. lt rs unknown ifthese tests
were `due to the same use, or separate use: Therct’o`rc, they will only he listed as one allegation below.

‘The non-compliant behaviors described 111 the paragraphs above are the basis of the corresponding allegations listed
below ’\`hcy are included here to show the pattern of noncompliant behavior and the corresponding corrective
measures initiated by the Probation Ot`tice.

 

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NO_W RESPECTFULLY PRESENT!NG PET|TION FOR ACTION OF COURT AND FOR CAUSE
AS FGLLOWS:

l. ` On or about l llO_S/ZOIB, at McAllen, TX. Dimas DcLeon did possess a controlled substance, in violation ot'
Mandatory Conditlon No. 3 of the Conditions ofSupcrvised R¢leasc.

2. On or about 12103120|8. at McAllcn, TX, Dimas_ Del.)aon did possess o controlled substance,` m violation ot`
Mandatory Condltion No. 3 ofthe Conditions ofSupervl§ed Release.

3. On_ or about 121l7/2018, at McAllen, TX, Dimas Debeon did possess a controlled substance, in violation ot`
Mandatory Condition No. 3 oflhc Conditions ofSupcrvised Relca$e.

4. On' or about 03IOl/2019, at McAllcn, TX, Dimas DeLeon did possess a controlled substance, m violation of
Mandatory Conditior‘\ No. 3 of tlt"e Condltlons ofSupcrvisad Reloase.

5. On or about 031|3/2019. at McAllcrt, TX, Dimas Dcl.eon did possess a controlled substance, m violation of
lendatory Condition No. 3 of the Conditions ofSuper`visod Release

6. Between 03104/20|9 and 03126/20|9, at McAllen, TX, Dimas-DeLeon did fail to participate in substance
abt§se treatment as¢dlr'ected, in violation of Spccial Condition No. 2 of the Conditlons of:Sr`i`pervlsed Re`lease
on four oecaslons.

I’RAYING THAT THE COURT WILL ORDER a warrant be lssucd for the arrest and return to Cour_t of
Dimas DeLeon t'or a hcon'r_r'g to determine whether thc Ordcr heretofore granting supervised release should now be
revoked :

I, Sarah Fry, a Pmbation and Pretrial Servlt:es Ol'licer_' employed lo th_e U.S. Dlstrlc_t Court for the
Dlstrlct ol` South Dalto_tn, solemnly affirm and declare, under penalty of perjury, that to the best of my
lnl'ormatlnn and heliet‘. the facts set forth in this articlth are true and correct

Respectfully Subrnltted,
' o

zant y

Sa`rahrf"ry

U.S. Probatl_on/Pretrial S_ervices Oft`tcer
U. S. Probation & Pretrial Scrviccs Oftice
225 S. Picrre Stn:ct. Ste 318

Plcm=', SD 51$01

(60$)945-46_69

,Sarah_Fry@:tdp.uscounsgov

Dute: 03/27/201\9

